                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                    Plaintiffs,                  Case No. 3:21-cv-00419

             v.                                  District Judge William L. Campbell Jr.

UNITED STATES OF AMERICA,                        Magistrate Judge Alistair E. Newbern

                    Defendant.


                  REPLY IN SUPPORT OF MOTION TO AMEND

      Out of an abundance of caution, the Jarretts filed a motion to amend their

Complaint to add forward-looking factual allegations and to specifically plead

injunctive and declaratory relief. Mot. (Dkt. 55). The Jarretts did so because the

government, for the first time in its Reply to its Motion to Dismiss, challenged the

sufficiency of the Jarretts’ Complaint. Specifically, the government argued that this

Court need not decide whether the Jarretts “could” obtain injunctive or declaratory

relief because they “asked for neither injunctive nor declaratory relief in their

Complaint.” Reply to Mot. to Dismiss (Dkt. 53) at 3.

      If that argument had merit (and the Jarretts believe it does not), then it

would be, at most, a reason to let the Jarretts amend their Complaint. For the

reasons set forth in their Motion, the Jarretts have amply demonstrated they meet

the applicable standards to modify the scheduling order and amend their

Complaint. See Mot. at 4-5. Amendment would not be futile: if the government




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prevails on its Motion to Dismiss because the Jarretts did not specifically plead

something, then amendment cannot be futile. See Miller v. Calhoun County, 408

F.3d 803, 817 (6th Cir. 2005). Thus, justice requires that the Jarretts be afforded

the opportunity to amend their Complaint to remedy such alleged deficiencies.

      But the government, in its lengthy Opposition to the Motion to Amend,

appears to be walking away from the argument in its Reply. It appears to agree

(once again) that its Motion to Dismiss does not turn on the contents of the Jarretts’

pleadings, and that whether the Jarretts are entitled to injunctive or declaratory

relief is “a pure question of law for the Court to decide.” See Opp’n (Dkt. 57) at 8.

The Jarretts agree.

      All the Jarretts ask is that, if amendment of their Complaint is required for

the Court to decide the government’s Motion to Dismiss, then the Jarretts be

afforded the opportunity to do so.



                                              Respectfully submitted,

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                                     DATED:       April 18, 2022



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                          CERTIFICATE OF SERVICE


      I hereby certify that on April 18, 2022, I electronically filed the foregoing

Reply with the Clerk of Court using the CM/ECF system, which sent notification to

Defendant’s Counsel:


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 Dated: April 18, 2022

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